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                                                                                    ACCOUNT BALANCES
      Account Name                                                       Account Number                            Balance           Type          Exhange Rate        In USD

Account in Poland Signer                Ivan Molina

Outside of Poland Signer                Reginald Fowler

Global Trade Solutions                  HSBC US                                                                                             USD                      $70,000,000.00
Global Trade Resources                  HSBC UK
                                        1) Account 40-05-26 01692372 held with HSBC Bank in the name of Reginald Dennis Fowler Balance(s): £25,131.25


                                        2) Account 40-11-99 84080273 held with HSBC Bank in the name of Reginald Dennis Fowler Balance(s): €6,513,639.87


                                        3) Account 40-11-99 84080265 held with HSBC Bank in the name of Reginald Dennis Fowler Balance(s): $13,234,319.04


Eligibility Criterion    R DO NORTE, 7200-354, REGUENGOS MONSARAZ, ÉVORA, Portugal
 USD                                    Account Balance                  PT50 0035 0216 00076487070 40               559244.22              USD                 1      $559,244.22
EUR                                     Account Balance                  PT50 0035 0216 00076482530 80              4021234.55              EUR              1.23     $4,946,118.50
USD                                     Account Balance                  PT50 0035 0216 00076487070 40             40857150.16              USD                 1    $40,857,150.16
EUR                                     Account Balance                  PT50 0035 0216 00076482530 80             37566674.76              EUR              1.23    $46,207,009.95
USD                                     Account Balance                  PT50 0035 0216 00076487070 40               841319.64              USD                 1      $841,319.64
EUR                                     Account Balance                  PT50 0035 0216 00076482530 80              4130430.53              EUR              1.23     $5,080,429.55
EUR                                     Account Balance                  PT50 0035 0216 00076482530 80                    3110              EUR              1.23         $3,825.30
USD                                     Account Balance                  PT50 0035 0216 00076487070 40               125169.31              USD                 1      $125,169.31
JPY                                     Account Balance                  PT50 0035 0216 00076478170 65               ¥3,947,369              JPY           0.0094        $37,105.27
AUD                                     Account Balance                  PT50 0035 0216 00076477370 40                 $5,020.57            AUD              0.78         $3,916.04
CAD                                     Account Balance                  PT50 0035 0216 00076476570 15            $1,491,295.80             CAD              0.78     $1,163,210.72
EUR                                     Account Balance                  PT50 0035 0216 00076482530 80            € 7,758,038.66            EUR              1.23     $9,542,387.55
GBP                                     Account Balance                  PT50 0035 0786 00071414070 17              £507,163.11             GBP              1.39      $704,956.72
USD                                     Account Balance                  PT50 0035 0216 00076487070 40           $15,964,355.79             USD                 1    $15,964,355.79
USD                                     Account Balance                  PT50 0035 0216 00076487070 40            $1,998,823.00             USD                 1     $1,998,823.00
EUR                                     Account Balance                  PT50 0035 0216 00076482530 80              € 515,796.55            EUR              1.23      $634,429.76
Caixa Total                                                                                                                                                         $128,669,451.49
CAIXA GERAL DE DEPOSITOS, SA
ALAMEDA DOS COMBATENTES DA GRANDE GUERRA,
                         Cascais
ZIP                      2750-011 CASCAIS
COUNTRY                  Portugal


Eligibility Criterion    R DO NORTE, 7200-354, REGUENGOS MONSARAZ, ÉVORA, Portugal
EUR                                     Account Balance                  9-5589571.000.003                        €3,690,000.00             EUR              1.23      $4,538,700.00
CAD                                     Account Balance                  9-5589571.306.002                          $826,313.30             CAD              0.78       $644,524.37
EUR                                     Account Balance                  9-5589571.000.001                        € 2,003,877.76            EUR              1.23      $2,464,769.64
USD                                     Account Balance                  9-5589571.306.001                       $35,532,377.21             USD                 1     $35,532,377.21
EUR                                     Account Balance                  9-5589571.000.006                       €10,767,968.80             EUR              1.23     $13,244,601.62
EUR                                     Account Balance                  9-5589571.000.004                        € 4,381,000.00            EUR              1.23      $5,388,630.00
EUR                                     Account Balance                  9-5589571.000.001                           €30,000.00             EUR              1.23         $36,900.00
USD                                     Account Balance                  9-5589571.306.001                       $11,348,779.65             USD                 1     $11,348,779.65
EUR                                     Account Balance                  9-5589571.000.001                           €16,134.35             EUR              1.23         $19,845.25
BPI Total                                                                                                                                                            $73,219,127.75
BPI BAnk
Rua Dr Iracy Doyle 6 B, 2750-377 Cascais
Portugal




Eligibility Criterion    R DO NORTE, 7200-354, REGUENGOS MONSARAZ, ÉVORA, Portugal
Bankinter EUR                           Account Balance                  No online access                         €2,999,982.32             EUR              1.23    $3,689,978.25
Bankinter USD                           Account Balance                  On online access                        $13,202,584.31             USD                 1    $13,202,584.31
Bankinter Total                                                                                                                                                      $16,892,562.56

BankInter
Av. 25 de Abril 1097E, 2750-642 Cascais
Portugal



Crypto Sp Zoo.
Polish ‐ USD                            Account Balance Polish Cetral BankNA                                    $256,000,000.00             USD                 1   $256,000,000.00
Polish Bank ‐ EUR                       Account Balance Polish Cetral BankNA                                    €104,000,000.00             EUR              1.13   $117,520,000.00
Polish ‐GBP                             Account Balance Polish Cetral BankNA                                      £1,644,571.03             GBP              1.27     $2,088,605.21
                                                                                                                                                                     $375,608,605.21
Polish National Bank
Świętokrzyska 11/21, 00-919 Warszawa, Poland
